                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON

In re                                       )                      08-35797-rld7
                                                        Case No. ________________
Adelheid Maria Scott fka Adelheid Maria Lee )
aka Heidi Maria Scott                       )           NOTICE OF MOTION FOR RELIEF
                                            )           FROM (Check ALL that apply):
                                            )              AUTOMATIC STAY IN A CHAPTER 7/13 CASE
Debtor(s)                                   )              CHAPTER 13 CODEBTOR STAY
                                                                           GreenPoint Mortgage Funding, Inc.,
 I.  YOU ARE NOTIFIED a motion was filed on behalf of ___________________________________________,
                                                                        its assignees and/or successors in interest      the moving
     party, for (Check ALL that apply):
            Relief from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 USC §362.
            Relief from the stay protecting the CODEBTOR, whose name and service address are: ___________________
            __________________________________________________________________________________________,
            and CODEBTOR’s property as provided by 11 USC §1301.
 II. A COPY of the motion is ATTACHED. The name and service address of the moving party's attorney (or moving party,
     if no attorney) are:_______________________________________________________________________________
                            David B. Schumacher, 3422 Northeast 41st Avenue, Portland, Oregon 97212
     _____________________________________________________________________________________________
III. IF you WISH TO RESIST the motion, YOU MUST, WITHIN 14 DAYS OF THE SERVICE DATE SHOWN BELOW, FILE
     WITH the Clerk of the U.S. Bankruptcy Court BOTH of the following [NOTE: If you mail the Response to the court for
     filing, you MUST MAIL it at least 3 days before the filing deadline, unless you use an overnight delivery service, so that
     it will actually be RECEIVED at the court on time]:
     A. A written response which states the facts upon which relief from the automatic stay is resisted, by filling in the
            applicable “RESPONSE” portions on a copy of the ORIGINAL Motion [NOTE: If the Response will be electronically
            filed, the RESPONSE MUST BE PREPARED USING the “FILLABLE” PDF version of the ORIGINAL Motion unless
            BOTH the Motion was filed on paper AND it could NOT be otherwise electronically obtained from the movant];
AND B. A FULLY COMPLETED NOTICE OF HEARING using Local Form #721, INCLUDING the DATE and TIME of the
            hearing which must be CALCULATED as follows:
            1. Determine whether the case is a PORTLAND office case (i.e., the 5-digit portion of the Case No. begins with
                 a "3" or "4"), OR if it is a EUGENE office case (i.e., the 5-digit portion of the Case No. begins with a "6" or "7").
            2. Hearings for both offices will be "Meet Me" style telephone hearings which must be set on the FIRST available
                 Motion for Relief hearing date AND time for the correct office (see pt. 3 below) which is AT LEAST SIX (6)
                 calendar days after the Response is filed (i.e., RECEIVED) at the court. For example, if your Response will
                 be filed on Wednesday the 9th, and the next available hearing dates are the 15th & 22nd, your hearing will be on
                 the 15th.
            3. HEARING DATES and TIMES for the CORRECT OFFICE must only be obtained via either the
                 "Calendars/Scheduling" button on the Internet at www.orb.uscourts.gov OR a recorded phone message (i.e.,
                 if a PORTLAND case call (503)326-1530, OR if a EUGENE case call (541)431-4038).
IV. FAILURE to Respond OR serve proper Notice of Hearing. If you fail to file EITHER a timely response OR proper Notice
     of Hearing, then either:
     A. The automatic stay will expire as to the debtor(s) pursuant to 11 USC §362(e) 30 days after the motion was
            originally filed, and/or the stay protecting the CODEBTOR will automatically expire by operation of law 20 days after
            the date the motion was originally filed;
 OR B. The court may sign an ex parte order, submitted by the moving party on Local Form #720.90, granting relief from
            the debtor stay and/or codebtor stay.
                                                         Clerk, U.S. Bankruptcy Court
                                                         [NOTE: If the 5-digit portion of the Case No. begins with "3" or "4", mail
                                                         to 1001 SW 5th Ave. #700, Portland OR 97204; OR if it begins with "6" or
                                                         "7", mail to 405 E 8th Ave #2600, Eugene OR 97401.]
        I certify that BOTH: (1) The Motion was prepared using the Court’s “Fillable” PDF version of Local Form #720.80; AND
(2) that on ___________
                 12/20/08  I served copies of: (a) this Notice, (b) Local Form #721 (if the party is not an ECF participant), AND
(c) the Motion on the Debtor(s), any codebtor at the address listed above, Trustee, U.S. Trustee, members of any committee
elected pursuant to 11 U.S.C. §705, and their respective attorneys.


                                                   /s/ David B. Schumacher                                                     96422
                                                   Signature of Moving Party or Attorney                                     (OSB#)
720 (12/18/06)


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                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

In re                                   )                  08-35797-rld7
                                                 Case No.__________________
                                        )
Adelheid Maria Scott fka Adelheid Maria
                                        )        (CHECK ALL APPLICABLE BOXES)
Lee aka Heidi Maria Scott
                                        )           Ch. 7/13 Motion for Relief from
                                        )               DEBTOR        Chapter 13 CODEBTOR Stay
                                        )           Filed by Creditor:
                                        )           _____________________________________
                                                    GreenPoint Mortgage Funding, Inc., its assignees and/or successors in interest
                                        )           Response to Stay Motion filed by Respondent:
Debtor(s)                               )           _____________________________________

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):
21975 SW 65th Avenue, Tualatin, Oregon



   b. Amount of debt: $______________
                              332,636.08     consisting of principal: $______________;
                                                                          318,272.39    interest: $______________;
                                                                                                      11,491.23     other:
outstanding late charges: $265.23; inspection/HELOC annual fee: $38.00; fax fee: $10.00; escrow advance: $1,588.23;
recording fee: $21.00; attorneys' costs: $800.00; court fees: $150.00

    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable information from
       debtor’s schedules if available on PACER:
Chase: $151,238.00 - Second Deed of Trust



        Total debt secured by collateral (total 1.b. + 1.c.): $______________.
                                                                  473,874.08

    d. Value of collateral: $______________.
                                 465,500.00
       Equity in collateral: $______________,
                                 -35,614.08                       27,240.00
                                              after deducting $______________ liquidation costs.

    e. Current monthly payment: $______________.
                                     1,891.18

    f. If Chapter 13:

        (1) $______________ postpetition default consisting of (e.g., $____ payments, $____ late charges, $____ fees):


        (2) $______________ prepetition default consisting of     amounts specified in proof of claim, or,   consisting of:




    g. If Chapter 7, total amount of default $______________.
                                                 16,641.18

RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why there is a
postpetition default, if applicable) (to be completed by respondent):




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2. Relief from stay should be granted because (check ALL that apply): (To be completed by creditor)
     Lack of adequate protection because of failure to make sufficient adequate protection payments and lack of a sufficient
     equity cushion.
     Lack of insurance on collateral.
     No equity in the collateral and the property is not necessary for an effective reorganization.
     Failure of debtor to make Chapter 13 plan payments.
     Failure of debtor to make payments to secured creditor required by pt. 4 of Chapter 13 plan.
     Other (describe):




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition default, detail the
cure by ATTACHING a proposed order using Local Form (LBF) #720.90 available at www.orb.uscourts.gov under Ct.
Rules/Orders/Forms) (to be completed by respondent):




3. Background (To be completed by creditor)

    a. Date petition filed: ___________
                              10/28/08      Current Chapter: ____7 (7 or 13)
       If 13, current plan date ___________ Confirmed:           Yes No
       If 13, treatment of creditor’s prepetition claim(s) in plan:



       If 7, debtor   has     has NOT stated on Local Form (LBF) #521 that debtor intends to surrender the collateral.

    b. Creditor has a lien on the collateral by virtue of (check ALL applicable sections AND also see pt. 6 below):
          Security agreement, trust deed or land sale contract dated ___________,
                                                                           12/29/04   and, if applicable, an assignment of said
          interest to creditor. The security interest was perfected as required by applicable law on ___________.
                                                                                                          01/05/05
          Retail installment contract dated ___________, and, if applicable, an assignment of said interest to creditor. The
          security interest was perfected on the certificate of title on ___________.
          Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




4. Request for Relief from Codebtor Stay (Only Chapter 13)

    a. ______________________________, whose address is _______________________________________________
       ________________________, is a codebtor on the obligation described above, but is not a debtor in this bankruptcy.

    b. Creditor should be granted relief from the codebtor stay because (check ALL applicable boxes):   codebtor received
       the consideration for the claim held by creditor,      debtor’s plan does not propose to pay creditor’s claim in full,
          creditor’s interest would be irreparably harmed by continuation of the codebtor stay as a result of the default(s)
       described above and/or because:




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RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable)

       Creditor’s claim is secured by real property and debtor’s filing of this petition was part of a scheme to delay, hinder, and
       defraud creditors that involved either (a) transfer of all or part ownership of, or other interest in, the real property without
       creditor’s consent or court approval, or, (b) multiple bankruptcy filings affecting the real property. The following facts
       support this assertion:




       Other pertinent information:




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




6. Relief Requested (check ALL applicable sections): (To be completed by creditor)

       Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified collateral, and,
       if necessary, to take appropriate action to obtain possession of the collateral.

       Creditor has a security interest in real property and requests relief from stay with respect to an act against such property
       and that the relief be binding in any other bankruptcy case purporting to affect such real property filed not later than 2
       years after the date of the entry of an order granting this motion.

       Creditor requests that the 10 day stay provided by FRBP 4001(a)(3) be waived based on the following cause:


       Other (describe and explain cause):
The Movant further seeks relief in order to, at its option, offer, provide and enter into any potential forbearance agreement,
loan modification, refinance agreement or other loan workout/loss mitigation agreement. The Movant, through its servicing
agent Countrywide Home Loans Servicing, L.P. fka Countrywide Home Loans, Inc., may contact the Debtor via telephone or
written correspondence to offer such an agreement. Any such agreement shall be non-recourse unless included in a
reaffirmation agreement.




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, ATTACH a
proposed order using Local Form (LBF) #720.90 available at www.orb.uscourts.gov under Ct. Rules/Orders/Forms) (to be
completed by respondent):




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7. Documents:

    If creditor claims to be secured in pt. 3.b. above creditor’s counsel has served on all parties listed in the notice, BUT
    NOT FILED with the court (i.e., such documents will not be filed), a copy of the documents creating and perfecting the
    security interest. If respondent disputes the creation and/or perfection of the claimed lien(s), respondent has filed with the
    response all the documents creditor’s counsel served.

RESPONDENT requests creditor provide Respondent with the following document(s), if any checked, which are pertinent
to this response:
    Postpetition payment history.
   Other document(s) (specific description)




CREDITOR/ATTORNEY                                                    RESPONDENT DEBTOR/ATTORNEY (by signing, the
                                                                     respondent also certifies that [s]he has not altered the
                                                                     information completed by creditor)

           /s/ David B. Schumacher
Signature:__________________________________                         Signature:__________________________________
Name:________________________________________
        David B. Schumacher                                          Name:________________________________________
         3422 Northeast 41st Avenue,
Address:________________________________________                     Address:________________________________________
_______________________________________________
         Portland, Oregon 97212                                      _______________________________________________
Email Address:__________________________________
                schulaw@comcast.net                                  Email Address:__________________________________
          (503) 249-8384
Phone No:______________________________________                      Phone No:______________________________________
OSB#:_________________________________________
          96422                                                      OSB#:_________________________________________



                                                                     RESPONDENT CODEBTOR/ATTORNEY (by signing,
                                                                     the respondent also certifies that [s]he has not altered
                                                                     the information completed by creditor)

                                                                     Signature:__________________________________
                                                                     Name:________________________________________
                                                                     Address:________________________________________
                                                                     _______________________________________________
                                                                     Email Address:__________________________________
                                                                     Phone No:______________________________________
                                                                     OSB#:_________________________________________




YOU ARE HEREBY NOTIFIED THAT THE CREDITOR IS ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.




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